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                 EXHIBIT B-070
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                                                                    FILED IN OFFICE

            IN THE SUPERIOR COURT OF FULTON CO
                        STATE OF GEORGIA


INRE:                                                     CASE NO.
SPECIAL PURPOSE GRAND JURY                                2022-EX-000024

               RESPONSE IN OPPOSITION TO
    WITNESS GOVERNOR BRIAN P. KEMP'S MOTION TO QUASH

     COMES NOW, Fani T. Willis, District Attorney, Atlanta Judicial Circuit,

in her capacity as the legal advisor to the Fulton County Special Purpose Grand

Jury ("SPGJ'') and makes this its Response in Opposition to the Motion to Quash

filed by the witness Governor Brian P. Kemp ("Movant") by showing and stating

the following.

                          I. STATEMENT OF FACTS

     The investigative posture of this matter necessarily precludes a full airing of

the status of the grand jury's work, and how any individual witness fits into the

whole. As will be addressed further below, Movant unquestionably has

information relevant, material, and necessary to the grand jury investigation.

Resisting his appearance before the grand jury, however, Movant attaches

Exhibits A through X to his motion to quash. These attachments primarily

contain a purp01iedly complete email thread and text con-cspondence between

Movant's counsel ("counsel") and representatives of the District Attorney's
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Office. The District Attorney submits that these Exhibits warrant this Court's

close scrutiny. 1

      First, it is important to note the unexplained absence of emails between

counsel and the District Attorney's Office that by virtue of their dates should

have been part of counsel's correspondence thread. 2 Simply put, without


       As an aid to the Court, beginning with Movant Exhibits J and L, the same email thread is
repeated in subsequent Exhibits M, N, 0, Q, and R with the addition ( or omission) of only one
or two email(s) to the same thread. Consequently, most of the emails in these Exhibits are
simply repeats. Wading through this correspondence thread inclusive of the emails omitted by
counsel in District Attorney's Exhibits A-E (see fn. 2, supra) and given the confusingly
repetitious nature ofMovant's Exhibits, it is estimated that the District Attorney's Office
communicated with counsel approximately thirty-three times about securing testimony, while
counsel communicated with the District Attorney's Office approximately twenty-six times,
including Motion Exhibits S-V which are four letters sent on four different dates purporting to
comply with the subpoena duccs tecum.
2     See District Attorney's Exhibit A--curiously omitted in the email thread in Movant's
Exhibits Q and R: containing July 22, 2022 apology email from counsel and acceptance email
from the undersigned. District Attorney's Exhibit B--which should have been part of the
email thread in Movant's Exhibits Q and R: containing: (I) two July 11, 2022 emails between
counsel and the D.A.'s Office re Mr. Cody Hall's grand jury testimony, (2) a July 9, 2022
email from counsel to the D.A. 's Office re Mr. Hall's attorney/client privilege assertions, (3)
two June 25, 2022 emails between counsel and the D.A. 's Office re service of Mr. Hall's
subpoena and scheduling Hall's testimony, (4) two June 23, 2022 emails between the D.A.'s
Office and counsel re service of Mr. Hall's subpoena and scheduling his testimony, (5) a June
22, 2022 email from the D.A. 's Office to counsel re service of Mr. Hall's subpoena, (6) a June
9, 2022 email from counsel to the D.A.'s Office re representation of Mr. Hall, and (7) a June 6,
2022 email from the D.A. 's Office to counsel re contact information for Mr. Hall. District
Attorney's Exhibit C-which should have been part of the email thread in Movant's
Exhibits N, 0, Q, and R: containing June 15, 2022 emails between the D.A.'s Office and
counsel setting up a July 25 meeting time to discuss Movant's testimony. District Attorney's
Exhibit D--which should have been part of the email thread in Movant's Exhibits L-O, Q,
and R: containing a May 12, 2022 email from counsel to the D.A. 's Office preparing for their
May 12, 2022 meeting about Movant's interview. District Attorney's Exhibit E--which
should have been part of the email thread in Movant's Exhibit J-O, Q, and R: containing (I)
a May 10, 2022 email from the D.A.'s Office to counsel trying to set up a meeting on May 12,
2022, (2) a May 11, 2022 email from the D.A. 's Office to counsel trying to set up a meeting on
May 12, 2022, and (3) two May 11, 2022 emails between counsel and the D.A.'s Office re a
May 12, 2022 meeting time.
                                               2
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explanation Movant omitted some relevant exchanges in the email

correspondence. Next, some emails had been part of counsel's correspondence

thread in one Exhibit but unexplainedly disappeared from the thread in another

Exhibit..3 Additionally, there are references to emails that do not appear in the

thread in any Exhibit. 4 These examples clearly illustrate a rather unsophisticated

manipulation of counsel's correspondence to shape the narrative in favor of

Movant's self-serving bullet points. Mot. at 2-7. The manipulation of counsel's

correspondence thread is both unprofessional and disappointing, in addition to

undermining the entire premise of the motion.

      What Movant's Exhibits do reveal, however, is the clear statement by the

District Attorney to counsel as early as June 21, 2021, that the District Attorney

does not provide a witness in a criminal investigation-even           Movant-with

interview questions in advance. 5 Appropriately, information was provided to

Movant about the topic of the investigation questions, i.e.,



3     Compare, e.g., Movant email thread in Exhibits F and H, missing February 7, 2022 email
from counsel; Movant email thread in Exhibits O and Q, missing two June 15, 2022 emails
between counsel and the D.A. 's Office.

4
       See, e.g., Movant's Exhibit J, April 25, 2022 email from counsel to the D.A. 's Office
referencing the D.A.'s Office's "email below" which was omitted; Movant's Exhibit 0, June
15, 2022 email from the undersigned to counsel thanking him for his email which was omitted.
5     Mot. Exh. C, June 21, 2021 email from the District Attorney to counsel; Mot. Exh. J,
April 25, 2022 email from the D.A.'s Office informing counsel that "there is no information we
wish to discuss" before the special purpose grand jury begins calling witnesses on June I.


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             alleged interference in the administration of the November 2020
             election, to include but not limited to the now well-known phone call
             from our former President to the Georgia Secretary of State. 6

Yet, it appears that obtaining the interview questions in advance was in fact the

purpose of the "attorney proffer" sought by Movant's counsel over the last

seventeen months of communications with the District Attorney. This was finally

revealed in the telling July 20, 2022 email in which counsel directed the District

Attorney in the "measures" he required for her Office to secure Movant's

testimony, including providing counsel with the interview "questions in writing

by noon on Thursday, July 21, 2022." Mot. Exh. Q. Under these circumstances,

it is perhaps not surprising that the District Attorney found counsel's attempts to

control the SPGJ's criminal investigation into possible election interference

"utterly ludicrous." Mot. Exh. R.

      The District Attorney has repeatedly stated that this investigation is not a

game. 7 The fact that "gamesmanship" may be a factor in the instant motion to

quash is not a deterrent. The baseless and inflammatory accusations of unethical

behavior hurled about by Movant-while             unpersuasive and unhelpful to the



6     Mot. Exh. C, June 21, 2021 email from District Attorney to counsel; Mot. Exh. P, June
22, 2022 letter from the D.A.'s Office to Movant detailing information sought by the SPGJ via
testimony and subpoena duces tecum to Movant.

      See, e.g., https://www.nbcnews.com/meet-the-press/meetthepressblog/fulton-county-da-
expect-subpoenas-trump-associates-rcna36948.

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grand jury's work-will   not deter the SPGJ or the District Attorney's Office from

securing necessary testimony from any and all relevant witnesses. And to that

end, the District Attorney submits that the instant motion to quash is wholly

without merit.

           II. ARGUMENT AND CITATIONS OF AUTHORITY

A.    SOVEREIGN IMMUNITY IS NO BAR TO SECURING
      MOVANT'S COMPLIANCE WITH A LAWFULLY ISSUED
      WITNESS SUBPOENA FOR TESTIMONY BEFORE A GRAND
      JURY INVESTIGATING THIRD-PARTY CRIMINAL ACTS

      Movant claims that his witness subpoena is completely barred by sovereign

immunity "because the DA's Office is seeking to compel the Governor to submit

to the Court's legal process, and the State has not waived immunity to such

process." Mot. at 8. Movant's argument demonstrates a fundamental

misunderstanding of the doctrine of sovereign immunity.

      Both Movant and the District Attorney agree that the case of Lathrop v.

Deal, 301 Ga. 408 (2017) controls this issue. In the first sentence of Lathrop, our

Georgia Supreme Court stated plainly the parameters of the doctrine:

      Simply put, the constitutional doctrine of sovereign immunity forbids our
      courts to entertain a lawsuit against the State without its consent.
Id. (emphasis added).
      Thereafter, then-Justice Blackwell writing for the Court traced the 230-year

development of sovereign immunity in Georgia from its English common law


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roots through its more recent Constitutional and decisional iterations. Lathrop,

supra at 411-425. 8 Sovereign immunity construed broadly protects all levels of,

government from suit, and any lawsuit barred by sovereign immunity is subject to

dismissal by the courts for lack of subject matter jurisdiction. Conway v. Jones,

353 Ga. App. 110,111 (2019); O.C.G.A. § 9-11-12 (b) (1).

      The problem for Movant in relation to this doctrine is the very plain

requirement in the cases he cites (and those cited in Lathrop) that the state or

government agency involved must be facing a lawsuit for sovereign immunity to

even be applicable. 9 Completely ignoring the fundamental principle that the

sovereign is protected from suit, Movant simply hurdles to his legal conclusion

that sovereign immunity protects him from submitting to this Court's "legal




       See Tift v. Griffin, 5 Ga. 185, 189 (1848); O.C.G.A.§ 1-1-10 (c) (10) (codifying adoption
of English common law); Sheley v. Bd. Of Public Education, 233 Ga. 487 (1975) (1974
amendment to Ga. ·canst. of 1945, Art. 1 Sec. II, Par. X gave constitutional status to the
common law doctrine of sovereign immunity); Martin v. Ga. Dep 't of Public Safety, 257 Ga.
300, 302 (2) (purchase ofliability insurance for employees of state department waves sovereign
immunity of the department under new Ga. Const. of 1983, Art!, Sec. II, Para. IX (d));
Georgia Dept. of Natural Resources v. Center for a Sustainable Coast, 294 Ga. 593 (2014)
(doctrine extends to suits for injunctive relief); Olvera v. Univ. System of Ga. Board of Regents,
298 Ga. 425,428 (2016) (doctrine extends to suits for declaratory relief).

9      See Mot. at 8: Lathrop, supra (plaintiffs filed lawsuit against twenty state officers
seeking injunctive and declaratory relief); DNR v. Center for Sustainable Coast, supra (Center
filed declaratory judgment lawsuit against the Department of Natural Resources); Conway,
supra (plaintiff filed lawsuit against Gwinnett County sheriff); McConnell v. Dept. of Lab, 302
Ga. 18 (2017) (plaintiff filed lawsuit against Georgia Department of Labor for negligence);
Dep 't of Pub. Safety v. Johnson, 343 Ga. App. 22 (2017) (plaintiff filed lawsuit against
Georgia Department of Public Safety for negligence).

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process." Mot. at 8. Taken to its logical conclusion, Movant's position seems to

be that the judicial branch of the government has no authority over him unless he

agrees to it. 10 Of course, Movant's assertions about 'judicial process" are in no

way related to the doctrine of sovereign immunity from suit. Further, he

completely fails to provide any nexus whatsoever between the doctrine's

protection from lawsuit and his claim of"protection" from being compelled by

this Court to appear as a mere witness-albeit          one with necessary information-

in a grand jury investigation of third-party criminal acts.

      But Movant's argument does not end here. Next, he misapplies case law

related to a secondary consideration in those instances where the State is facing a

lawsuit, and sovereign immunity might apply. This secondary consideration is

whether the state entity was acting in an "official capacity" during the actions

that gave rise to the lawsuit.

      To that end-and       completely ignoring the "lawsuit" aspect-Movant              claims

that the subject matter about which the SPGJ seeks his witness testimony "arises

entirely from the performance of his official duties as Governor," and this Court



10     See e.g., Mot. at 11 (forcing Movant "to submit to judicial authority" without his consent
is "fundamentally inconsistent with the nature of sovereign immunity"); Mot. at 12 ("sovereign
immunity applies to 'all unconsented-to legal actions' [cite] which necessarily includes
subpoena enforcement"); Mot. at 12 (this Court will "subject the Governor, in his official
capacity, to judicial process without the [Governor's] consent. The Court lacks jurisdiction to
do that").

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cannot "decree" the appearance of the Governor because to do so would control

"his actions in his official capacity" which is "forbidden" by sovereign immunity.

Mot. at 9. Again, the cases upon which Movant relies involve lawsuits against a

government agency/employee. I I In those cases, the application of sovereign

immunity turned on whether the government entity being sued was acting in an

individual or official capacity during the actions that gave rise to the lawsuit.

That is certainly not the posture in which we find the Movant-who                 is not being

sued at all. Sovereign immunity simply does not apply to Movant who is a mere

witness before the special purpose grand jury investigating unlawful election

interference in Georgia. 12 Absent a lawsuit to trigger sovereign immunity, the

"official" or "unofficial" manner in which Movant obtained pertinent information

related to possible unlawful election interference in Georgia is simply

irrelevant. 13




11   Dennison Mfg. Co. v. Wright, 156 Ga. 789 (1923); Romanov. Georgia Dep't of Corr.,
303 Ga. App. 347, 350-351 (2010); Wang v. Moore, 247 Ga. App 666,669 (2001).

12    The Supreme Court has affirmed that even sitting Presidents can be required to comply
with and provide evidence for state-level grand jury subpoenas. See Trump v. Vance, 140 S. Ct.
2412 (2020).

13     See Ga. Const. of 1983, Art I,§ II, Para. IX (d) (state employees "shall not be subject to
suit or liability, and no judgment shall be entered against them, for performance or non-
performance of their official functions.") (Emphasis supplied).


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      Perhaps recognizing the requirement of a lawsuit in relation to sovereign

immunity, Movant next argues that the doctrine prohibits the grand jury's

subpoena regardless of whether the Governor is "a mere witness." Mot. at 10.

To make this argument, Movant steps down from the lofty heights of

"sovereignty" and turns to the line of federal cases in which,

      a federal employee may not be compelled to obey a subpoena contrary to his
      federal employer's instructions under valid agency regulations.

Boron Oil Co. v. Downie, 873 F2d 67, 69 (1989) (emphasis supplied). In Boron

Oil, the case upon which Movant primarily relies as comporting "perfectly with

Georgia law," Mot. at 11, the 4th Circuit held that the Environmental Protection

Agency's regulation 40 C.F.R. §2.401 authorized the agency head to prevent a

subordinate employee from testifying about agency matters in a state civil suit.

Here, of course, Movant is not a subordinate federal employee, and he cannot be

instructed by his federal employer to refuse to testify. Most importantly, Movant

completely discounts that his cited cases required a valid federal rule or

regulation that authorized the federal agency head to prevent the dissemination of

information about agency matters. 14 It seems obvious that this line of federal



14    See Smith v. Cromer, 159 F3d 875, 879 (4th Cir. 1999) (DOJ regulation 28 C.F.R. §§
16.21, et seq. authorized quashing subpoena); In re Elko Cnty. Grand Jury, 109 F3d 554 (9th
Cir 1997) (USDA regulation 7 C.F.R. § 1.211 (c) prevented Forest Service employee's
testimony); Houston Bus. J., Inc. v. Off a/Comptroller a/Currency, U.S. Dep 'ta/Treasury, 86
F3d 1208 (D.C. Cir. 1996) (documents protected by bank-examination privilege and "final
agency action" pursuant to 5 U.S.C. § 704).
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cases does not comport "perfectly" with Georgia law; indeed, the cases have

nothing to do with Georgia law whatsoever.

     In the end, Movant's sovereign immunity argument tacks back and forth

through unfavorable waters, hoping to catch the wind. None is available:

     • Movant cites a case relating to the principle that an action in which a

        judgment for the plaintiff would affect or control property or action of

        the state is against the state-regardless   of the named defendant. Mot. at

        9, 11, citing Roberts v. Barwick, 187 Ga. 691, 695 (1939). He, however,

        ignores that there must be an "action" and a 'Judgment" that directly

        affects the purse or actions of the state. Also, his cited case pre-dates the

        tort consequences of state action established in Ga. Const. of 1983, Art.

        I, Sec. II, Para. IX (d). See Miree v. United States, 490 F. Supp. 768,

        772-773 (N. D. Ga. 1980).

     • Movant cites Goolsby v. Regents of Univ. Sys. of Georgia, 141 Ga. App.

        605, 609 (1977), disapproved on other grounds in Deal v. Coleman, 294

        Ga. 170 (2013 ), to claim that sovereign immunity withholds the court's

        jurisdiction over the state "without regard for the basis of the suit"; but

        he fails to include the fact that there must at least be a suit-regardless    of

        its basis. Mot. at 11.




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 • Movant claims "a subpoena is itself a 'suit"' and so sovereign immunity

     protects him from a subpoena/suit. Mot. at 11. Yet, the case he cites in

     support, McCobb v. Clayton Co., 309 Ga. App. 217, 217-218 (2011),

     holds no such thing. The case does not address Movant's

     "subpoena/suit" contention, and moreover the Court of Appeals found

     sovereign immunity did not protect Clayton County from the tort

     consequences of its actions. Id.

 •   Movant cites the tribal immunity cases of Bonnet v. Harvest (U.S.)

     Holdings Inc., 741 F3d 1155, 1159-1160 (10th Cir. 2014) and Alltel!

     Commcn 's, LLC v. DeJordy, 675 F3d 1110, 1105 (8 th Cir. 2012) for the

     notion that a subpoena is a "suit" for purposes of sovereign immunity.

     Mot. at 12. But those two cases turned on the peculiarities of tribal

     immunity in relation to federal sovereign immunity per U.S. Const.

     amend. XI, and have no broader applicability. United States v. Univ. of

     Massachusetts, Worchester, 167 F. Supp., 3d 221, 223-224 (Dist. Ct.

     Mass. 2016), citing Kiowa Tribe v. Mfg. Techs., Inc., 523 U.S. 751, 753-

     759 (1998) and Hans v. Louisiana, 134 U.S. 1, 11-15 (1890). For

     purposes of the state's sovereign immunity under the Eleventh

     Amendment, a subpoena is not a "suit." United States v. Univ. of

     Massachusetts, Worchester, supra at 223-224; accord McGhee v. Fla.

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      Dep't Corr., 4:18mc04-MW/CAS (N. Dist. Fla. 2019) (federal litigation

      in which the state is not sued or named as a party is not "a suit" against

      the state).

   • Movant cites Georgia Lottery Corp. v. Patel, 353 Ga. App. 320 (2019)

      and argues that this Court cannot imply a waiver of sovereign immunity

      for a subpoena to "the sitting Governor." Mot. at 12 (emphasis in

      original). However, like the rest ofMovant's cases, Patel involved a

      lawsuit against the State, which made both sovereign immunity-and        its

      waiver-relevant    issues. These issues are not before this Court.

   Ultimately, Movant's sovereign immunity claims (as varied and imaginative

as they are) must return to where we all started: Lathrop v. Deal, supra, which

is dispositive in Georgia: "Simply put, the constitutional doctrine of sovereign

immunity forbids our courts to entertain a lawsuit against the State without its

consent." (emphasis added) Id. at 408. Under the circumstances here, Movant

has failed to establish sovereign immunity as a basis for quashing the validly

issued subpoena for his witness testimony before the special purpose grand jury

investigating third-party criminal acts relating to election interference. Indeed,

the judicial branch's power to enforce Movant's subpoena and compel his

submission to the judicial process as a "mere witness" survives his strenuous

objections to the contrary.

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B.    "EXECUTIVE PRIVILEGE" IS NOT APPLICABLE IN THIS
      MATTER

      As an alternative basis to quash the lawfully issued subpoena, Movant

argues that he should be excused from testimony before the grand jury because he

enjoys "substantial privileges" necessary "to perform his official duties as Chief

Executive Officer of the State," including "executive privilege." Mot. at 13. The

District Attorney submits that Movant has failed to show that "executive

privilege" is applicable in this matter.

       1. Presidential communications privilege. In United States v. Nixon, 418

U.S. 683 (1974), the Court recognized a presidential communications privilege

belonging to the President because of his "the singularly unique role under Art. II

of a President's communications and activities related to the performance of duties

under that Article." Nixon, supra at 715. The presidential communications

privilege protects communications between the president and his advisors relating

to his decision-making processes. Importantly, the privilege is limited to

communications made "in the process of shaping policies and making decisions."

Nixon, supra at 708.

       Based on the above, Movant argues that he as Governor and Chief

Executive Officer of Georgia should be afforded a gubernatorial communication

privilege analogous to the presidential communication privilege. Such privilege

would allow him to withhold "confidential communications from judicial
                                           13
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subpoena." Mot. at 15. However, Georgia courts have not adopted a

gubernatorial communications privilege. Nor, notably, have the remaining forty-

nine states rushed to bestow such privilege upon their respective governors. By

way of example, see State ex rel Dann v. Taft, 848 N.E. 2d 472 (Ohio 2006):

      For over 200 years, the state of Ohio has existed without a gubernatorial
      communications privilege. For over 200 years, we have had an open
      government, with an executive branch designed to be limited in power.
      Why now does the governor come before this court claiming a heretofore
      unrecognized privilege? Are we in the midst of a crisis of state? No, the
      governor is in the midst of a crisis of politics.

Id. at 389 (Pfeifer, J., dissenting). Indeed, Movant cites only two cases to support

his claim that "several states have found the existence of this executive

communications privilege." Mot. at 15 (emphasis added). 15

      Further, the instant matter seems especially ill-suited for carving out a

brand-new gubernatorial communication privilege, since Movant fails to identify

any potential grand jury witness testimony to which such privilege would apply.

The presidential communication privilege only applies to communications with

advisors made "in the process of shaping policies and making decisions," Nixon,

supra at 708 (emphasis added); consequently, the privilege does not protect the

policy or the decision, itself, but the advisory processes that led to it. In the litany

of potential grand jury testimony from Movant outlined below, no testimony


15    Freedom Found v. Gregoire, 310 P. 3d 1252 (Wash. 2013) and Nero v. Nyland, 386
A.2d 846 (N.J. 1978).
                                            14
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would be related to any advisory processes in which Movant might have engaged

before he acted.

      2. Deliberative processes privilege. Generally, this form of executive

privilege is invoked when a party files a motion to compel or subpoena duces

tecum seeking afederal executive agency's documents that may include material

related to the deliberations and decision-making processes of agency executives in

deciding policies and opinions.

      First, the privilege protects candid discussions within an agency. Second, it
      prevents public confusion from premature disclosure of agency opinions
      before the agency established its final policy. Third, it protects the integrity
      of an agency's decision.

United States v. Zak, 2021 WL 3556646 (N.D. Ga. 2021), citing Alexander v.

F.B.I., 186 F.R.D. 154, 163 (D.D.C. 1999). To be protected, the information
                                                                       \
                                                                            must

be (1) "pre-decisional" in that the information was received by the decision maker

to assist him in making his decision, and (2) a direct part of the deliberative

process in that the information contains "recommendations or expresses opinions

on legal policy or matters." Id. at 7-8; Paisley v. CIA, 712 F2d 686, 698-699 (DC

Cir. 1983). Notably, the executive agency must show prima facie that the

deliberative process privilege applies. Zak, supra at 8. It is also important in this

matter that "purely factual" material that does not reflect an executive agency's

deliberative processes generally is not protected. Id.; In re Sealed Case, 121 F3d

729, 737 (DC Cir. 1997).
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       To the extent that Movant is asserting an executive deliberative process

privilege with regard to his grand jury witness testimony, he has failed to establish

that such privilege even applies in this matter. Movant's witness subpoena does

not involve the production of potentially privileged documents. Here, the grand

jury is seeking factual information from a witness-Movant-about           his personal

knowledge of the contents of his communication with third parties that might be

related to possible unlawful election interference. Movant may claim that his

       decision-making before, during, and after the November 2020 election
       relied heavily on communications with his advisors and on notes and drafts
       he prepared. Mot. at 16.

But this vague statement establishes no connection at all between Movant's

"decision-making" and his witness testimony about the factual content of

communications with third parties about possibly unlawful election interference.

The factual content of his communications with former President Trump or

persons connected to Trump can be revealed without disclosing any input he may

have received from advisors concerning said conversations. As this Court

relevantly held in a related matter,

       What the grand jury may not pursue is any line of questioning about what
       the [Movant] thought of such proposals or what, if anything, he decided to
       do based on such input. 16




 16    In re 2 May 2022 Special Purpose Grand Jury, 2022-EX-000024 (July 6, 2022, Order
 pp. 6-7).
                                            16
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       Movant' s failure to establish the applicability of any executive privilege in

this matter is especially important since it involves a grand jury's criminal

investigation. In United States v. R. Enterprises, Inc., 498 U.S. 292 (1991), the

Supreme Court reversed the quashing of business records subpoenas, finding that

the relevancy and admissibility requirements for production announced in United

States v. Nixon, 418 U.S. 683, 699-700 (1974), simply did not apply in the grand

jury context before it. R. Enterprises, supra at 296-297. In doing so, the Court

reasoned,

       The grand jury occupies a unique role in our criminal justice system. It is an
       investigatory body charged with the responsibility of determining whether or
       not a crime has been committed .... The function of a grand jury is to
       inquire into all information that might possibly bear on its investigation until
       it has identified an offense or has satisfied itself that none has occurred.

Id. at 297 .17 Consequently, a properly issued grand jury subpoena is "presumed to

be reasonable, and the burden of showing unreasonableness must be on the



 11     In re Sealed Case, supra at 755, held that the Supreme Court's decision in R. Enterprises
 did not apply to the grand jury subpoena before it because,
        R. Enterprises concerned a challenge to a grand jury subpoena on grounds of relevance;
        it does not govern a case, such as this, where the grand jury subpoena [for documents] is
        being resisted on grounds of privilege.
 In that case, the presidential communications privilege established in United States v. Nixon,
 418 U.S. 683 (1974) actually existed and was invoked. Before this Court, however, the grand
 jury witness subpoena cannot be "resisted on the grounds of privilege" because Movant has not
 established the existence or applicability of any executive privilege in this matter. Movant's
 mere inclusion of the words, "executive privilege" in his motion to quash does not magically
 create such privilege where it does not exist. Consequently, the holding in R. Enterprises
 controls the standards related to the grand jury witness subpoena properly issued to Movant in
 this matter.

                                                17
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recipient who seeks to avoid compliance." Id. at 300-301. Movant cannot make

that showing because the testimony the grand jury seeks from him is related to the

topic of their criminal investigation: unlawful election interference.

       In his motion to quash Movant admits only that he received "many public

entreaties by President Trump and others for him to use the power of the

Governor's executive office to alter the administration of the 2020 election in any

way." Mot. at 16. While he considers this sufficient to satisfy the grand jury's

need for his testimony, Movant does not identify the "others"; Movant does not

identify the nature of the "entries" he received and from whom; and Movant does

not identify in what way(s) it was suggested he alter the election. Many extant

facts establish additional lines of grand jury inquiry not mentioned by Movant.

       Consider that on September 25, 2021, in Perry, Georgia, former President

Trump gave a rally speech. 18 Mr. Trump told his supporters that Georgia's 2020

election was "a rigged election." (video, min. 31 :59). He stated that he "called his

people" and told them to "find out what happened" in Georgia because there was

"something wrong with this election.'' (video, min 41: 14 - 41: 18). Mr. Trump

stated that "his people" called Movant repeatedly, but Movant "won't do anything

on election integrity." (video, 41:27 - 42:07). The former President finally said,



 18    See Perry Rally Video ("video"): https://www.c-span.org/video/?514951-1/president-
 trump-rally-perry-georgia.

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"Let me handle this. This is easy. You know I got the guy elected." (video, 42:08-

42: 11). Mr. Trump stated that he called Movant and told him, "Brian, I hope you

can help us out and call a special election and let's get to the bottom ofit." (video,

42:39-42:47). Mr. Trump stated that Movant told him, "Sir, I'm sorry. I cannot do

it" which made Movant a "disaster." (video 42:56-43:05). In relation to the Perry

rally, Movant can testify inter alia about the existence of any evidence the Trump

campaign or operatives provided to support their theory that Georgia's election

was "rigged"; Movant can testify about the identity of the people who attempted to

communicate with him and whether they identified as representatives of Mr.

Trump; he can testify to the number of times he received or made calls related to

the Trump campaign's allegations and demands that he take action; he can testify

about the specific contents of his phone conversations; he can testify about the

contents of his telephone conversation with Mr. Trump; he can testify about

whether Mr. Trump told Movant that he "got Movant elected"; he can testify about

whether Mr. Trump specifically sought a "special election" or some other form of

relief; he can testify about conversations about "election integrity"; he can testify

about whether threats were made by Mr. Trump or others; he can testify about his

responses to Mr. Trump. No executive privilege applies to any of these areas of

mqmry.




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       Also, during the same Perry rally, Mr. Trump told his supporters that a

"disastrous consent decree" in Georgia essentially abolished "signature

verifications" on mail-in ballots and "paved the way for massive voter fraud" in

Georgia. (video, 45:04 - 45: 10). In that regard, Georgia Secretary of State Brad

Raffensperger received personal telephone calls from South Carolina Senator

Lindsey Graham-an       ardent and vocal supporter of Mr. Trump-in           the weeks

immediately after the November 3, 2020 election. Both Raffensperger and Deputy

Secretary of State Gabe Sterling (who was on the line) have publicly discussed the

conversations they had with Senator Graham in which the Senator asked

Raffensperger about conducting an audit of Georgia mail-in ballots and discarding

all mail-in ballots from counties with higher rates of signature verification

disparities. As Raffensperger told CBS New in November of 2020, "Senator

Graham implied for us to audit the envelopes and then throw out the ballots for

counties who have the highest frequency error of signatures." 19 Consequently,

before the grand jury, Movant can testify about any factual connections between

the telephone calls to Secretary Raffensperger and telephone calls concerning

relief being sought from the Movant.




 19     https://www.cbsnews.com/news/georgia-election-brad-raffensperger-lindsey-graham-
 throw-out-ballots/; https://www .vox.com/2020/11/18/21571684/lindsey-graham-brad-
 raffensperger-georgia-ballots.

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      The District Attorney submits that the above clearly relevant information is

just the start of what may be revealed through Movant's grand jury witness

testimony. Depending on what Movant's testimony reveals, many more

evidentiary avenues may be opened, especially in light of the testimony the grand

jury has already received from Secretary Raffensperger and others. Further, as

outlined above, Movant is uniquely knowledgeable about the election interference

matters being investigated by the grand jury since he was personally involved in

the conversations at issue. Movant has not spoken publicly in detail about the

content of these communications; no "alternative sources" can have Movant's

first-hand knowledge of these matters. Under these circumstances, Movant has

not and cannot meet

      his unenviable task [] to persuade the court that the subpoena that has been
      served on him or her could not possibly serve any investigative purpose that
      the grand jury could legitimately be pursuing.

R. Enterprises, supra at 300, citing 1 S. Beale & W. Bryson, Grand Jury Law and

Practice§ 6:28 (1986).

      Since a gubernatorial communication privilege has not been recognized in

Georgia, and Movant has not shown that his grand jury witness testimony would

be impacted by any deliberative process privilege, "executive privilege" is simply

not applicable in this matter. Consequently, Movant has shown no basis for




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 quashing his grand jury witness subpoena seeking testimony about his personal

knowledge of possible third-party criminal acts of election interference.

 C.    MOVANT'S GRAND JURY WITNESS SUBPOENA DOES NOT
       CALL FOR INFORMATION PROTECTED BY ATTORNEY-
       CLIENT PRIVILEGE

       The parameters of possible grand jury witness testimony as outlined in

 Division B (1) (a) above demonstrates that no attorney-client privileged

. information is being sought. The Movant's testimony to be adduced before the

 grand jury goes to factual matters within his personal knowledge related to

 possible unlawful election interference. The District Attorney will readily agree to

 all procedures established by this Court, and any potential infringement on

 legitimate attorney-client privilege will be studiously avoided.

       However, the District Attorney's particular concern as it relates to Movant's

 testimony is similar to the Court's concern in R. Enterprises about "delays and

 detours" that would "saddle a grand jury with mini trials and preliminary showings

 [that] would assuredly impede its investigation and frustrate the public's interest in

 the fair and expeditious administrations of the criminal laws." Id. at 727. This

 Court has been made aware of the dubious authenticity of counsel's attached

 Exhibits. In addition, elements of aggression and distraction are displayed by

 counsel in his accusation that the District Attorney's Office "intentionally"

 attempted to elicit attorney-client privileged information from a previous grand

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jury witness; he complains that the D .A.' s Office "laughed" at the witness and

"retaliated" because the witness asserted attorney-client privilege. Mot. at 18.

The District Attorney's real concern is that these tactics will not stop, but instead

will be used to create further "delay and detours" to interfere with Movant's

testimony.

       The District Attorney's Office raises these concerns solely to bring them to

the Court's attention as possibilities. Meanwhile, the District Attorney fully

shares the confidence expressed generally by the Supreme Court in R. Enterprises

that this Court in particular "will be able to craft appropriate procedures that

balance the interest of the subpoena recipient against the strong governmental

interests in maintaining secrecy, preserving investigatory flexibility, and avoiding

procedural delays." Id. at 302. The valid privilege concerns of each of the grand

jury witnesses to date have been addressed by the Court, and there is no reason to

believe any legitimate privilege assertions by Movant will not be similarly dealt

with. 20

D.     THE MOVANT'S GRAND JURY WITNESS SUBPOENA IS NOT
       UNREASONABLE AND OPPRESSIVE

 20     The Court's own personal knowledge of the alleged "abusive tactics" employed by the
 District Attorney during the testimony of a previous grand jury witness on the topic of
 privileges puts to rest this particular histrionic accusation. Mot. at 18. As the Court is well-
 aware, it was not the D.A. 's Office who sought to abuse privilege protections. Further, all
 privilege assertions made by this witness (and all others) have been dealt with by the Court in a
 manner that facilitated appropriate questioning by the grand jury while protecting truly
 privileged information. Movant offers no explanation for why genuine assertions of privilege
 made during his testimony may not be handled in a similarly efficient manner.
                                                23
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      Pursuant to O.C.G.A. § 15-12-100, a January 24, 2022 order was entered

convening a Fulton County Special Purpose Grand Jury ("grand jury") and

authorizing it to investigate "the facts and circumstances relating directly or

indirectly to possible attempts to disrupt the lawful administration of the 2020

elections in the State of Georgia." Before that time, the District Attorney's Office

attempted to secure the cooperation of witnesses through voluntary interviews. As

the District Attorney wrote in her January 20, 2022 letter to Chief Judge Brasher

seeking the empanelment, "We have made efforts to interview multiple witnesses

and gather evidence, and a significant number of witnesses and prospective

witnesses have refused to cooperate with the investigation." The grand jury began

receiving testimony on June 1, 2022-a     date specifically chosen to fall after the

May primaries. Movant was served with his grand jury witness subpoena on

August 4, 2022, for testimony on August 18, 2022. On its face, Movant' s grand

jury witness subpoena is neither umeasonable nor oppressive in relation to the

timing of the empanelment, the beginning of testimony, the date ofMovant's

subpoena, or the date of his testimony.

      However, for eighteen months before the service ofMovant's subpoena, the

District Attorney's Office sought his voluntary cooperation. It was not

forthcoming. The sincerity ofMovant's intent to cooperate with the grand jury's

investigation is in question given the manipulated correspondence in Motion
                                          24
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Exhibits A-X and in the instant, last-minute August 17, 2022 motion to quash the

grand jury's subpoena. Now, in this last claim of error, Movant though counsel

levels egregious charges at the District Attorney's Office, slinging mud that seems

only for public relations purposes, since there is no truth to his accusations, and

they provide no legal basis for finding his grand jury witness subpoena

unreasonable and oppressive. Most of the claims he levels do not warrant a legal

response. But some cannot go without comment:

      • Nine times in seven pages, Movant claims the District Attorney's Office

        unethically sought his grand jury testimony in the middle of "an election

         cycle." Georgia follows the federal definition of an "election cycle." 21

         Under O.C.G.A. § 21-5-3 (10), "Election cycle" means the period from the

         day following the date of an election or appointment of a person to elective

         public office through and including the date of the next such election of a

         person to the same public office." Accordingly, from the moment he was

         elected, Movant was in an election cycle. At the time Mr. Trump called

         Movant in November or December of 2020, Movant was already "in the

         middle of an election cycle." At the time the grand jury began taking

         evidence in June 2022, Movant was "in the middle of an election cycle."



 21   https ://www .ncsl.org/blo g/2014/06/26/whats-an-election-cycle-depends-where-you-
 are.aspx.

                                               25
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       What Movant is complaining about is that 2022 is an election year for him.

       And his real aim is not at all subtly contained in the substantive statements

       in this alternative basis for relief. His egregious allegations against the

       District Attorney's Office are abusive, untrue, and designed to convince

       this Court to delay Movant's grand jury testimony until after the November

       2022 election day. 22

     • As originally intended, Movant's grand jury testimony was to be secured

        on August 18, 2022, two and a half months before election day. His grand

       jury testimony would remain secret, his entry and exit from the grand jury

        could be handled out of public sight, and consequently could not impact his

        election. Further, the District Attorney has publicly stated that she intends

        to avoid grand jury activity after the commencement of early voting in

        October, a decision made specifically to prevent election distractions. 23

        Consequently, the District Attorney's Office did not "time" Movant's


22     See Mot. at 19 (D.A. 's deadline for Movant's testimony entirely "self-imposed" to
preclude delay ofMovant's testimony until after election); Mot. at 21 (counsel repeatedly
requested D. A. to schedule Movant's grand jury appearance "after the November election");
Mot. at 22-23 (D.A should have delayed its request for Movant's grand jury testimony "until
after the impending election"); Mot. at 23-24 (the D. A. "could also seek testimony from
[Movant] in late 2022 or early 2023"). See also Mot. Exh. L, May 12, 2022 email rejection of
counsel's request to delay voluntary interview with Movant until after election day; Mot. Exh.
W, counsel's August 8, 2022 email renewing his request that the interview with Movant be
postponed until after election day.

23 https://www.nbcnews.com/meet-the-press/meetthepressblog/fulton-county-da-expect-
subpoenas-trump-associates-rcna36948

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       subpoena to impact the elections; the Office is complying with all relevant

       instructions related to "election year sensitivities" and ABA Criminal

       Justice Standards; and the Office is adhering to prosecutorial ethical

       standards. In fact, a reasonable observer may well conclude that Movant's

       current, strident show of non-cooperation with the District Attorney and

       the grand jury's investigation into election interference by Mr. Trump and

       his associates-both      in the instant motion and before the media 24-is         itself

        a tactic to influence the November election.

     • As the Court is aware, the District Attorney's Office consented to moving

       back the date ofMovant's appearance before the SPGJ after an explicit

        request from Movant's counsel. The date evidently conflicted with the

        personal travel plans ofMovant's counsel, and after consultation with the

        Court, the D.A.'s Office agreed to move the date ofMovant's appearance

        by several days to August 18, 2022. Having received this extension with

        the cooperation of the D.A.'s Office, Movant's counsel waited until August

        17, 2022, and then filed the instant motion to quash.




24  https://www.ajc.com/politics/breaking-kemp-blasts-fulton-da-for-playing-politics-as-he-
fights-subpoena/YSGK660TLRHGZMOGYEA26PXJSE/; compare
https://www.bloomberg.com/news/articles/2022-07-25/georgia-governor-kemp-to-testify-in-
trump-s-2020-investigation.
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     • The District Attorney observes that by the time Movant filed this motion

        and publicly decried the District Attorney's actions, the media believed

        Movant had already testified. Several outlets reported that Movant had

        provided testimony on July 25, 2022;25 neither the District Attorney nor

        Movant said or did anything to contradict that notion. IfMovant had

        simply appeared on August 18, with arrangements made for arriving and

        exiting the building, absolutely no one would have known. The public

        perception was that Movant had already cooperated and spoken with the

        District Attorney's Office, and ifhe had appeared, that perception would

        never have changed. Instead, he waited until the day before his appearance

        and filed this motion accusing the District Attorney of engaging in political

        games.

     • Additionally, Movant exploits this Court's conclusions about the District

        Attorney's investigation of State Senator Burt Jones in light of her public

        support for another Lieutenant Governor candidate in the Democratic

        primary. The District Attorney's Office respects and adheres to the Court's

        ruling in that instance. However, using that single situation, Movant


25      See, for example:(!) https://www.ajc.com/politics/breaking-kemp-to-testify-in-fulton-co-trump-
probe/PXZ4ZEMJRJCSTCJJBYVU 6IK7EU/; (2) https ://www .11ali ve.com/article/news/politics/brian-
kemp-subpoena-trump-election-pro be-hice/85-d3 00a6e6- l c6 l-4005-924 5-71eba4337 e5 6; (3)
https://www.independent.eo.uk/news/world/americas/us-politics/brian-kemp-trump-georgia-probe-
b213180 ! .html: (4) https://www.washingtonexaminer.com/politics/kemp-testifies-georgia-election-
inquiry
                                                  28
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  broadly argues that the District Attorney continually engages in activities

  that have a "significant potential to conflict" with her "duties and

  responsibilities as a prosecutor" and has failed to "take corrective action."

  Mot. at 21-22. Using this Court's words out of context, Movant claims the

  "optics" of the D. A.'s conduct "are horrific." Mot. at 22.

       The District Attorney is confident that this Court is aware of the

  defined parameters of its holding involving Mr. Jones and the context in

  which the Court's words were spoken. Yet Movant blatantly disregards

  both in order to insult the D. A. both personally and professionally-such

  an attack is unprofessional and untrue. Attention must be paid. The

  District Attorney's Office will continue to adhere to the level of respect

  due a sitting Governor, and indeed all witnesses who come before the

  grand jury. The correspondence of the parties affirms that fact.

 •      Finally, Motion Exh. S-V reference Movant's apparent cooperation

  with the subpoena duces tecum served on behalf of the SPGJ by turning

  over more than 136,000 pages of documents. Mot. Exh. S-V. Lest the

  Court construe this apparent compliance with actual good faith cooperation

  with the grand jury investigation, it is worth noting what the June 22, 2022

  subpoena requested:



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                             .                                 .
          The following documentary evidence is hereby subpoenaed:

            _1.:All writings, reports, memoranda, do~umentary, electronic, digital, audio, video, or any
                informational medlum·or platform that recqrds and produces an-image that re·presents,
                e_xplains(and-provides context surrounding the-events ofthE! presidential election of •
                November. 2020.
                 '                                         J



            2. All writings, reports, memoranda, documentary, ele~ronlc, digital, audio, video, or any
               iriforma~ional mecllum or platform tha~ records and produces an Image that represents,
               explains, and pmvldes context-to the _circumstances;events, words, and actions
               assocjated v,/ith the 60-days aftermath from November 3, 2020, until January 3, 2021.

            3; All writings, reports, memor~nd~, documentary, electronic, digital, au.die,video, or any
               Information<!! medium or P.latformthat records and produces an imagethat·represents,
               explains, and.provides coritextto the clrcum~tances, events, words,-and actions.



       Mot. Exh. P (June 22, 2022 Letter and Subpoena Duces Tecum).

       Movant's "responsive" documents include many items not the least bit

       responsive to these categories of requests. The document production has

       included such items as: State Employee Benefit Package information,

       Medical Records for a deceased BDHDD Patient, Photographs of dogs

       apparently related to the purchase of protective canine vests, and a

       Cumberland Engineering Consultants Soil Report.

      Before this Court, Movant has not shown his grand jury witness subpoena

was either oppressive or burdensome; he has not shown the District Attorney

issued Movant's grand jury witness subpoena to influence the 2022 election for

governor; and he has not shown that the grand jury's investigation has "devolved

into its own mechanism of election interference." Mot. at 24. In short, his claims

are baseless. Consequently, Movant has shown no grounds for quashing his

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lawfully issued witness subpoena for testimony before a grand jury investigating

third-party criminal acts related to unlawful election interference.

                               III.   CONCLUSION

      For all of the foregoing reasons, the District Attorney respectfully requests

this Court to deny Movant's Motion To Quash the grand jury's witness subpoena

and allow Movant's grand jury testimony to proceed.

      Respectfully submitted this the 23rd day of August, 2022.


                                                ls/Nathan J. Wade
                                                  Nathan J. Wade, Bar. No. 390947
                                                  Special Prosecutor
                                                  Atlanta Judicial Circuit
                                                  136 Pryor Street Southwest
                                                  Third Floor
                                                  Atlanta, Georgia 30303




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                              Certificate of Service
I hereby certify that on this 23rd day of August, 2022, a true copy of this Response
was delivered to the following persons by electronic mail: Brian F. McEvoy,
attorney for the movant.


                                                        Nathan J. Wade
                                                        NATHAN J. WADE      390947
                                                                 Special Prosecutor




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                      STATE'S EXHIBIT A
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From: Nathan J. Wade <nathan@thewbcfirm.com>
Sent: Friday, July 22, 2022 2:27 PM
To: McEvoy, Brian F.<bmcevoy@bakerlaw.com>
Cc: Willis, Fani <Fani.WillisDA@fultoncountyga.gov>
Subject: Re: Governor Kemp




Kind sir:
Thank you for your email wherein you apologize for your behavior, I'm certain it
was uncharacteristic of your true self. I have taken the liberty of adding the rest of
the investigative team back to this email chain, as they deserve to benefit from
your heart-felt apology equally. I have been instructed by Madam DA Willis to
reach out and address your concerns, to this end, feel free to call Senior
Investigator Mike Hill to schedule a time for you and I to speak.
Thank you

On Fri, Jul 22, 2022 at 12:08 PM McEvoy, Brian F.<bmcevoy@bakerlaw.com>
wrote:
 DA Willis:

David Dove mentioned that he had spoken with you this morning and I was
hoping that you are available for a brief call with me sometime this
afternoon. Among other things, I would like to apologize if my advocacy in
protecting the Governor's legal interests came across as even the slightest bit
discourteous. I know that the Governor values his relationship with your office
and we look forward to working through these issues.

 Thanks,
 Brian


Brian McEvoy
Partner




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 and may not contain a full description of all relevant facts or a
 complete analysis of all relevant issues or authorities.

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 inaccuracies as information could be intercepted, c01Tupted,lost,
 destroyed, arrive late or incomplete, or contain vituses. Therefore,
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1827 Powers Ferry Rd.
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Atlanta, GA 30339


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                      STATE'S EXHIBIT B




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From: McEvoy, Brian F.<bmcevoy@bakerlaw.com>
Sent: Monday, July 11, 2022 3:18 PM
To: Nathan Wade <nathanwade@lawyer.com>
Cc: Wakeford, FMcDonald <FMcDonald.Wakeford@fultoncountyga.gov>;
Swanson-Lucas, Trina <Trina.Lucas@fultoncountyga.gov>; Hill-DA, Michael
<Mike.Hill@fultoncountyga.gov>; Rafferty, Brian T. <brafferty@bakerlaw.com>;
Zoller, Grace W. <gzoller@bakerlaw.com>; Bauer, S. Derek
<dbauer@bakerlaw.com>; Wooten, Will <Will.Wooten@fultoncountyga.gov>;
Ney, Adam <Adam.Ney@fultoncountyga.gov>; Willis, Fani
<Fani.WillisDA@fultoncountyga.gov>
Subject: RE: RE: Follow up




Nathan:

I am available today from 4pm-6pm. We can also discuss tomorrow before Mr.
Hall's Grand Jury appearance.

Thanks,
Brian

Brian McEvoy
Partner



1170 Peachtree Street I Suite 2400
Atlanta, GA 30309-7676
T + 1.404.256.6696

bmcevoy@bakerlaw.com
bakerlaw.com


From: Nathan Wade <nathanwade@lawyer.com>
Sent: Monday, July 11, 2022 11:16 AM
To: McEvoy, Brian F.<bmcevoy@bakerlaw.com>
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Cc: Wakeford, FMcDonald <FMcDonald.Wakeford@fultoncountyga.gov>;
Swanson-Lucas, Trina <Trina.Lucas@fultoncountyga.gov>; Hill-DA, Michael
<Mike.Hill@fultoncountyga.gov>; Rafferty, Brian T.<brafferty@bakerlaw.com>;
Zoller, Grace W. <gzoller@bakerlaw.com>; Bauer, S. Derek
<dbauer@bakerlaw.com>; Wooten, Will <Will.Wooten@fultoncountyga.gov>;
Ney, Adam <Adam.Ney@fultoncountyga.gov>; Willis, Fani
<F ani.WillisDA@fultoncountyga.gov>
Subject: Re: RE: Follow up

Mr. McEvoy:

We are in reciept of your email and Judge Mc Burney will be on standby to
address any legal issues as they arise. Today is a very busy day for our team
however, we are able to carve out some time at 1 pm to discuss further. Please
expect a call from Investigator Hill or Lucas promptly at 1 pm today.
Thanks,

Nathan J. Wade
Special Prosecutor


 Sent: Saturday, July 09, 2022 at 5:30 AM
 From: "McEvoy, Brian F." <bmcevoy@bakerlaw.com>
 To: "Wakeford, FMcDonald" <FMcDonald.Wakeford@fultoncountyga.gov>
 Cc: "Swanson-Lucas, Trina" <Trina.Lucas@fultoncountyga.gov>, "Hill-DA,
 Michael" <Mike.Hill@fultoncountyga.gov>, "Rafferty, Brian T."
 <brafferty@bakerlaw.com>, "Zoller, Grace W." <gzoller@bakerlaw.com>,
 "Bauer, S. Derek" <dbauer@bakerlaw.com>, "Wooten, Will"
 <Will.Wooten@fultoncountyga.gov>, "Ney, Adam"
 <Adam.Ney@fultoncountyga.gov>, "nathanwade@lawyer.com"
 <nathanwade@lawyer.com>, "Willis, Fani"
 <Fani. WillisDA@fultoncountyga.gov>
 Subject: RE: Follow up
 Donald:

 In advance of Mr. Hall's Grand Jury appearance on Tuesday, I wanted to make
 you aware of potential evidentiary and privilege issues that may arise during Mr.
 Hall's testimony. For instance, Mr. Hall has very limited knowledge that will be
 relevant to your office's inquiry that is not covered by the attorney client

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 privilege. Accordingly, we request that you acknowledge and respect the
 existence of this privilege in your or others' questioning of Mr. Hall as we are
 concerned about any inadvertent disclosure of privileged information. We will
 advise the Court of this issue in advance of Mr. Hall's testimony should there be
 a need for judicial intervention. Please let me know if you are available to
 discuss in advance of Tuesday.

 Thanks,
 Brian


Brian McEvoy
Partner



1170 Peachtree Street I Suite 2400
Atlanta, GA 30309-7676
T + 1.404.256.6696

bmcevoy@bakerlaw.com
bakerlaw.com


 From: Hill-DA, Michael <Mike.Hill@fultoncountyga.gov>
 Sent: Saturday, June 25, 2022 1:34 PM
 To: McEvoy, Brian F.<bmcevoy@bakerlaw.com>
 Cc: Swanson-Lucas, Trina <Trina.Lucas@fultoncountyga.gov>; Rafferty, Brian
 T. <brafferty@bakerlaw.com>; Zoller, Grace W. <gzoller@bakerlaw.com>;
 Bauer, S. Derek <dbauer@bakerlaw.com>; Wooten, Will
 <Will. W ooten@fultoncountyga.gov>; Wakeford, FMcDonald
 <FMcDonald.Wakeford@fultoncountyga.gov>; Ney, Adam
 <Adam.Ney@fultoncountyga.gov>; nathanwade@lawyer.com; Willis, Fani
 <F ani. WillisDA@fultoncountyga.gov>
 Subject: RE: Follow up
 Importance: High

 Good afternoon Brian,


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I hope you are enjoying the weekend. If you follow our email thread, you will
note that I asked you earlier this week if you would accept service on behalf of
your client Mr. Cody Hall.

When you did not provide response, you were notified Thursday of this week
that our investigators were attempting to personally serve Mr. Hall because you
had not provided answer.

The attempt to serve Mr. Hall at his residence was unsuccessful and a courtesy
copy of the subpoena was provided for his attention and review. Although we
appreciate your concerns, I believe we have full understanding of effective
service under Georgia law.


By your response, I understand that are accepting service on behalf of Mr. Cody
J. Hall. Please see the attached documents.

As shown on the witness subpoena, Mr. Cody Hall is scheduled to
appear Tuesday, July 12 at 0900hrs. This date is firm.

Additionally, we have requested on multiple occasions that you please provide
response to the production subpoena provided by Inv. Lucas on Wednesday,
June 22.

Thank you for your assistance and continued cooperation with this investigation.



From: McEvoy, Brian F.[mailto:bmcevoy@bakerlaw.com]
Sent: Saturday, June 25, 2022 10:59 AM
To: Hill-DA, Michael
Cc: Swanson-Lucas, Trina; Rafferty, Brian T.; Zoller, Grace W.; Bauer, S.
Derek; Wooten, Will; Wakeford, FMcDonald; Ney,
Adam; nathanwade@lawyer.com; Willis, Fani
Subject: RE: Follow up

Investigator Hill:

My understanding is that someone for your office left a subpoena, in plain view,
on the doorstop of Mr. Hall yesterday. As you may be aware, this is not
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 only not effective service under Georgia law it is also reckless from a privacy
 and discretion standpoint. We continue to be concerned about the leaks around
 this investigation from your office, intentional or otherwise, despite assurances
 from District Attorney Willis that such information would be held in strict
 confidence.

 Please send a copy of the subpoena to me and we will accept service on behalf of
 Mr. Hall. I look forward to discussing the scheduling of his appearance once I
 have received the subpoena.

 Thanks,
 Brian

Brian McEvoy
Partner



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Atlanta, GA 30309-7676
T + 1.404.256.6696

bmcevoy@bakerlaw.com
bakerlaw.com


 From: Hill-DA, Michael <Mike.Hill@fultoncountyga.gov>
 Sent: Thursday, June 23, 2022 2:16 PM
 To: McEvoy, Brian F.<bmcevoy@bakerlaw.com>
 Cc: Swanson-Lucas, Trina <Trina.Lucas@fultoncountyga.gov>; Rafferty, Brian
 T. <brafferty@bakerlaw.com>; Zoller, Grace W. <gzoller@bakerlaw.com>;
 Bauer, S. Derek <dbauer@bakerlaw.com>; Wooten, Will
 <Will.Wooten@fultoncountyga.gov>; Wakeford, FMcDonald
 <FMcDonald.Wakeford@fultoncountyga.gov>; Ney, Adam
 <Adam.Ney@fultoncountyga.gov>; nathanwade@lawyer.com
 Subject: Re: Follow up

 Brian,


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I am well and I pray you are the same.

Prior to addressing scheduling concerns, I need your response on 2 issues:

1) You advise that you represent Mr. Cody Hall on this matter. Will you accept
Supoena service on his behalf? If so, I will forward the witness subpoena via this
email thread and we can discuss any potential scheduling concerns after service
has been complete.

2) Please provide response regarding the production subpoena Inv. Trina Lucas
sent to you yesterday, June 22.

Again, once you have addressed subpoena service, we can discuss scheduling.

Please note, until you advise on authorization of subpoena service, our
investigators will attempt to personally serve Mr. Hall.

Please advise.

Thanks.



      On Jun 23, 2022, at 12:42 PM, McEvoy, Brian F.
      <bmcevoy@bakerlaw.com> wrote:


      Mike:

      How are you? Given that we are in the middle of an election cycle,
      scheduling might be tricky. Can you please give me a sense of
      when you would be seeking his appearance?

      Thanks,
      Brian

Brian McEvoy
Partner



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bmcevoy@bakerlaw.com
bakerlaw.com


       From: Hill-DA, Michael <Mike.Hill@fultoncountyga.gov>
       Sent: Wednesday, June 22, 2022 8:44 AM
       To: McEvoy, Brian F.<bmcevoy@bakerlaw.com>
       Cc: Swanson-Lucas, Trina <Trina.Lucas@fultoncountyga.gov>;
       Rafferty, Brian T.<brafferty@bakerlaw.com>; Zoller, Grace W.
       <gzoller@bakerlaw.com>; Bauer, S. Derek
       <dbauer@bakerlaw.com>
       Subject: RE: Follow up
       Importance: High

       Good morning Brian,

       Please advise if you are authorized to accept subpoena service on
       behalf of your client, Mr. Cody Hall.

       Once confirmed, I will forward Mr. Hall's grand jury witness
       subpoena.

       Thanks.

       From: McEvoy, Brian F.[mailto:bmcevoy@bakerlaw.com]
       Sent: Thursday, June 09, 2022 3:03 PM
       To: Hill-DA, Michael
       Cc: Swanson-Lucas, Trina; Rafferty, Brian T.; Zoller, Grace W.;
       Bauer, S. Derek
       Subject: RE: Follow up

       Mike:




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       How are you? Yes, my firm is representing Cody Hall in his
       capacity as a member of the Governor's Executive staff (during the
       relevant time period).

       Please let me know if you would like to discuss.

       Thanks,
       Brian

Brian McEvoy
Partner



1170 Peachtree Street I Suite 2400
Atlanta, GA 30309-7676
T + 1.404.256.6696

bmcevoy@bakerlaw.com
bakerlaw.com


       From: Hill-DA, Michael <Mike.Hill@fultoncountyga.gov>
       Sent: Monday, June 6, 2022 12:26 PM
       To: McEvoy, Brian F.<bmcevoy@bakerlaw.com>
       Cc: Swanson-Lucas, Trina <Trina.Lucas@fultoncountyga.gov>
       Subject: RE: Follow up
       Importance: High

       Good morning Brian,

       Does Mr. Cody Hall still serve as an advisor to Governor Kemp?
       Or, is he still employed with the Governor's Office in any capacity?

       If so, are you able to provide his contact information or that of
       counsel?

       Thanks.


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                      STATE'S EXHIBIT C




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From: McEvoy, Brian F.<bmcevoy@bakerlaw.com>
Sent: Wednesday, June 15, 2022 6:31 PM
To: Nathan J. Wade <nathan@thewbcfirm.com>
Cc: Wooten, Will <Will.Wooten@fultoncountyga.gov>; Wakeford, FMcDonald
<FMcDonald. W akeford@fultoncountyga.gov>; Hill-DA, Michael
<Mike.Hill@fultoncountyga.gov>; Ney, Adam
<Adam.Ney@fultoncountyga.gov>; Rafferty, Brian T.
<brafferty@bakerlaw.com>; Allen, Sonya <Sonya.Allen@fultoncountyga.gov>;
Zoller, Grace W. <gzoller@bakerlaw.com>; Willis, Fani
<Fani. WillisDA@fultoncountyga.gov>
Subject: RE: Follow up

Let's plan to meet at Baker, Hostetler at 10am on July 25.

Brian McEvoy
Partner


1170 Peachtree Street I Suite 2400
Atlanta, GA 30309-7676
T + 1.404.256.6696

bmcevoy@bakerlaw.com
bakerlaw.com


From: Nathan J. Wade
Sent: Wednesday, June 15, 2022 11:00 AM
To: McEvoy, Brian F.
Cc: Wooten, Will; Wakeford, FMcDonald; Hill~DA, Michael; Ney, Adam;
Rafferty, Brian T. ; Allen, Sonya ; Zoller, Grace W.
; Fani.WillisDA@fultoncountyga.gov
Subject: Re: Follow up

Thank you for your email kind sir, please advise the Governor that I have elected
to conduct his voluntary interview on July 25, 2022. I am happy that we were able
to reach an amicable date. Please ask the Governor for a convenient time and
place, also there will be a court reporter present. I look forward to hearing from
you later today in that regard. Thank you again sir
Wade
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                      STATE'S EXHIBIT D




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From: McEvoy, Brian F.<bmcevoy@bakerlaw.com>
Sent: Thursday, May 12, 2022 10:32 AM
To: Wakeford, FMcDonald <FMcDonald.Wakeford@fultoncountyga.gov>
Cc: Hill-DA, Michael <Mike.Hill@fultoncountyga.gov>
Subject: RE: Interview Request

Donald:

In advance of our call today and for context, please see the below correspondence
with District Attorney Willis.

Brian McEvoy
Partner


1170 Peachtree Street I Suite 2400
Atlanta, GA 30309- 7676
T + 1.404.256.6696

bmcevoy@bakerlaw.com
bakerlaw.com


Begin forwarded message:

From: "Willis, Fani" <Fani.WillisDA@fultoncountyga.gov>
Date: June 21, 2021 at 6:29:56 PM EDT
To: Brian McEvoy <BMcEvoy@polsinelli.com>
Cc: Brian Rafferty <BRafferty@polsinelli.com>, Grace Zoller
<GZoller@polsinelli.com>, "Allen, Sonya" <Sonya.Allen@fultoncountyga.gov>,
"Baez-Nieves, Raymond" <Raymond.Baez-Nieves@fultoncountyga.gov>
Subject: RE: Gov. Kemp Interview Request


EXTERNAL EMAIL fani.willisda@fultoncountyga.gov

Greetings Mr. McEvoy:



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I hope this email finds you well. I apologize for my delay in responding. Your
email was buried amongst others.

We will be asking for an interview in August with Governor Kemp. I will be
present along with other lawyers and investigators from my team. I can assure you
the content of the conversation will not be leaked by my office. We would ask that
no one on your team even mention that such an interview is occurring. In terms of
a time line we expect to conclude all interviews of witnesses that do not need to go
before a Grand Jury by September 30, 2021.

It is not our practice to forecast questions of an interview, but broadly we will be
inquiring about any and all information your client may or may not have related to
the alleged interference in the administration of the November 2020 election, to
include but not limited to the now well-known phone call from our former
President to the Georgia Secretary of State.

Please feel free to choose any date convenient for Governor Kemp between August
9 - August 31, and we can meet at a place of your choosing. I hope this answers
your concerns and I certainly look forward to meeting with you in person.




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                      STATE'S EXHIBIT E




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From: Wakeford, FMcDonald <FMcDonald.W akeford@fultoncountyga.gov>
Sent: Wednesday, May 11, 2022 4:44 PM
To: McEvoy, Brian F. <bmcevoy@bakerlaw.com>
Cc: Hill-DA, Michael <Mike.Hill@fultoncountyga.gov>
Subject: Re: Interview Request

Thank you. We will talk to you then.

Sent from my iPhone


      On May 11, 2022, at 12:54 PM, McEvoy, Brian F. wrote:


      Yes, 2:30 works for me. Thanks.
Brian McEvoy
Partner
1170 Peachtree Street I Suite 2400
Atlanta, GA 30309- 7676
T +1.404.256.6696

bmcevoy@bakerlaw.com
bakerlaw.com

      From: Wakeford, FMcDonald
      Sent: Wednesday, May 11, 2022 12:52 PM
      To: McEvoy, Brian F.
      Cc: Hill-DA, Michael
      Subject: Re: Interview Request
      Good afternoon, Brian,
      I wanted to reach out again to see if we could speak tomorrow
      afternoon. Our available times for a call are between 2:00-3:00 and
      any time after 4:00. It is possible we could be available earlier than
      2:00, but I won't be able to say until tomorrow. Please let us know if
      you are available.
      Thank you,
      Donald



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 Sent from my iPhone

       On May 10, 2022, at 11: 14 AM, Wakeford, FMcDonald
       <FMcDonald. W akeford@fultoncountyga.gov> wrote:


       Brian, let's try to speak on Thursday afternoon. Any time
       2:30 or later will work on our end, so just let me know
       what time you'd like to speak, and we'll give you a call
       then.
       Thank you,
       Donald
       From: Wakeford, FMcDonald
       Sent: Tuesday, May 10, 2022 9:56 AM
       To: 'McEvoy, Brian F.' <bmcevoy@bakerlaw.com>
       Cc: Hill-DA, Michael <Mike.Hill@fultoncountyga.gov>
       Subject: RE: Interview Request
       Hey, Brian, good morning,
       We definitely still intend to speak with the governor. Let
       me confer with our team, and we will arrange a time to
       speak with you this week about how we plan to proceed.
       I will shoot you an email as soon as I've spoken with
       them.
       Thank you,
       Donald
       F. McDonald Wakeford
       Chief Senior Assistant District Attorney
       Fulton County District Attorney's Office
       (404) 375-0281
       CONFIDENTIALITY NOTICE: The contents of this
       email message and any attachments are intended solely
       for the addressee(s) and may contain confidential and/or
       privileged information and may be legally protected from
       disclosure. If you are not the intended recipient of this
       message or their agent, or if this message has been
       addressed to you in error, please immediately alert the
       sender by reply email and then delete this message and
       any attachments. If you are not the intended recipient,
       you are hereby notified that any use, dissemination,


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            copying, or storage of this message or its attachments is
            strictly prohibited.

            From: McEvoy, Brian F.
            [mailto: bmcevoy@bakerlaw.com]
            Sent: Tuesday, May 10, 2022 9:52 AM
            To: Wakeford, FMcDonald
            <FMcDonald. W akeford@fultoncountyga.gov>
            Cc: Hill-DA, Michael <Mike.Hill@fultoncountyga.gov>
            Subject: RE: Interview Request
            Donald:
            How are you? Please let me know if you would like to
            discuss the below request. I am available at your
            convenience. If the state anticipates needing to speak
            with Governor Kemp, please let me know with as much
            advance notice as possible.
            Thanks,
            Brian
Brian McEvoy
Partner
1170 Peachtree Street I Suite 2400
Atlanta, GA 30309- 7676
T + 1.404.256.6696

bmcevoy@bakerlaw.com
bakerlaw.com




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